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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 WINSTON-SALEM DIVISION

 IN Re:
 KENNETH BURT MILLER                                         Case No. 19-50224- -
                                                             Chapter 7
 Soc. Sec. No. xxx-xx-1349
 Mailing Address: 325 Crooked Tree Drive , Kernersville ,
 NC 27284-


                                                  Debtor.

                                   MOTION TO REDEEM PROPERTY

NOW COMES the Debtor, by and through counsel undersigned, who, pursuant to 11 U.S.C. 506(a)
and 722, moves to redeem from the lien of Lendmark Financial Services upon a 1999 Prowler CT
vehicle. In support hereof, the Debtor shows unto the Court as follows:

1.       This Chapter 7 case was filed on March 8, 2019.

2.      When the case was filed, the Debtor was, and still is, the owner of a 1999 Prowler CT
        vehicle.

3.      Said vehicle is tangible personal property intended primarily for personal, family, or
        household use, that has either been claimed as exempt or has been abandoned by the Chapter
        7 Trustee.

4.      Lendmark Financial Services , the subject of this motion, holds a lien on such vehicle with
        a payoff balance, as of the date this case was filed, in the amount of approximately
        $8,223.00.

5.      Pursuant to 11 U.S.C. 722, the Debtor may redeem the subject vehicle by paying said holder
        the amount of the allowed secured claim of such holder that is secured by such lien “in full”
        at the time of redemption.

6.      As of the date this case was filed, price of the vehicle was $1,000.00. The trailer is a rebuilt
        trailer that was declared a total loss in 2012. The trailers wheels are flat and there are other
        defects and damage that affect its marketability. The trailer is primary used as a hunting
        lodge and has marginal resale value.

7.      That, in accordance with 11 U.S.C. 506(a) , the claim of Lendmark Financial Services
        should only be an allowed secured claim to the extent that there is value in said vehicle.

8.      That, pursuant to 11 U.S.C. 722, the Debtor is entitled to redeem said vehicle for the amount
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       of the allowed secured claim, which is $1,000.00.

WHEREFORE, the Debtor prays the Court enter an Order allowing the him to redeem said vehicle
from the lien held by Lendmark Financial Services , for the sum of $1,000.00, and that the Court
grant such other and further relief as to the Court seems just and proper.

Dated: May 10, 2019
                                           LAW OFFICES OF JOHN T. ORCUTT, P.C.
                                            /s Benjamin D. Busch
                                           Benjamin D. BuschAttorney for the Debtor
                                           N. C. State Bar No.: 43458
                                           1738-D Hillandale Road
                                           Durham, NC 27705
                                           Telephone: (336) 542-5993
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                                           Email: bbusch@lojto.com
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                                 CERTIFICATE OF SERVICE

I, Melissa Weaver , of the Law Offices of John T. Orcutt, P.C., do hereby certify, under penalty of
perjury, that I am, and at all times hereinafter mentioned was, more than eighteen (18) years of age;
and that on May 10, 2019, I served copies of the foregoing Motion, by certified mail, return receipt
requested, upon the parties set forth below:

LENDMARK FINANCIAL SERVICES
Attn: Managing Agent
Post Office Box 2969
Covington , GA 30015-

and by automated electronic noticing, upon the following parties:

Daniel C. Bruton
Chapter 7 Trustee
P O Box 21029
Winston- Salem , NC 27120-1029

Bankruptcy Administrator
101 Edgeworth Street
Greensboro NC 27401

and by regular, postage pre-paid, U.S. Mail upon the following parties:

KENNETH BURT MILLER
325 Crooked Tree Drive
Kernersville , NC 27284-
                                                    /s Melissa Weaver
                                                    Melissa Weaver
